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10   ZOX LLC
11
12                        UNITED STATES DISTRICT COURT
13                      CENTRAL DISTRICT OF CALIFORNIA
14
     ZOX LLC, a California limited liability )   Case No. 2:21-cv-01609
15   company,                                )
                                             )
16                                           )   COMPLAINT
                Plaintiff,                   )
17                                           )
            v.                               )   1. TRADEMARK
18                                           )   INFRINGEMENT;
                                             )
     JOHN ZOX, an individual, DANIEL         )   2. FALSE DESIGNATION OF
19
     ZOX, an individual, and ANDREW          )   ORIGIN;
20   ZOX, an individual, and DOES 1-10, ))       3. COMMON LAW TRADEMARK
21   inclusive,                              )   INFRINGEMENT;
                Defendants.                  )   4. STATUTORY UNFAIR
22                                           )
                                             )   COMPETITION; AND
23                                           )   5. COMMON LAW UNFAIR
                                             )
                                             )   COMPETITION.
24                                           )
25                                           )   REQUEST FOR JURY TRIAL
                                             )
26                                           )
27
           Plaintiff ZOX LLC, by its attorneys, Cislo & Thomas LLP, alleges as
28
     follows:

                                                            COMPLAINT FOR DAMAGES AND
                                                                     INJUNCTIVE RELIEF
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 1                                    INTRODUCTION
 2         1.     At least as early as, September of 2011, Zox LLC, its predecessors-in-
 3   interest, and its related entities (the “Zox Company” or “Plaintiff”), began using
 4   the mark “ZOX” on its popular fashion accessory line of bracelets or straps. The
 5   ZOX mark is the subject several U.S. Registrations including, but not limited to,
 6   Registration No. 4,465,691, for use in connection with wristbands and shirts as
 7   well as bracelets (the “691 Registration”). The ‘691 registration issued on January
 8   14, 2014. Since its launch over ten years ago, the company has become very
 9   successful offering a wide variety of retail goods in the United States and
10   internationally.
11         2.     The Defendants last name is “Zox”. John Zox was in a band called
12   “Zox” in the early 2000’s while Daniel and Andrew Zox appear to be involved in
13   photography and film production. Collectively John, Daniel and Andrew Zox are
14   referred to as “Defendants” or the “Zox Brothers”. Plaintiff had never had any
15   interaction with the Defendants prior to 2016.
16         3.     On information and belief, at some point in time, the Zox Brothers
17   learned of the Zox Company and its success and began a campaign of deceit to
18   interfere with the Zox Company’s trademarks and business. Starting in 2016, the
19   Zox Brothers filed trademark applications alleging Defendants were selling goods
20   that were closely related, or identical to Plaintiff’s products.
21         4.      Upon further investigation, Defendants had not previously and were
22   not presently selling the applied-for goods as alleged in the trademark applications.
23   The Defendants are providing false information to make it appear as though they
24   have been selling these goods all along when in fact they were not and are not-
25   committing multiple acts of fraud on the Trademark Office and manipulating
26   electronic information in an attempt to improve their legal position at the
27   Trademark Trial and Appeal Board (“TTAB”).
28

                                                 2               COMPLAINT FOR DAMAGES AND
                                                                          INJUNCTIVE RELIEF
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 1         5.      The infringement of the Zox Company’s trademarks rights has
 2   become increasingly aggressive and intolerable when Defendants recently
 3   launched products using a similar logo that directly compete with the Zox
 4   Company’s goods that are being sold in the same channels of commerce as shown
 5   in the screenshot below.
 6
 7
 8
 9
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14
15         6.      The Zox Company is seeking this Court’s assistance to enjoin

16   Defendants from using, selling or offering to sell consumer goods or retail products

17   under the ZOX mark and to award monetary relief for Defendants’ past violations.

18                                        PARTIES

19         7.      Plaintiff Zox LLC, is a California limited liability company and has its

20   principal place of business located at 5304 Derry Ave Suite G, Agoura Hills, CA

21   91301 within the City and County of Los Angeles in the State of California.

22         8.      Defendant John Zox is an individual who on information and belief

23   resides at 81 Thorndale Road, Slingerlands, New York, 12159-9753.

24         9.      Defendant Daniel Zox, is an individual who on information and belief

25   resides in Los Angeles having an address of 639 Navy St., Apt. C, Santa Monica,

26   California, 90405-5680.

27         10.     Defendant Andrew Zox is an individual who on information and

28   belief resides in Los Angeles at 6435 Bryn Mawr Drive, Los Angles, California,
     90068-2810.
                                                3              COMPLAINT FOR DAMAGES AND
                                                                        INJUNCTIVE RELIEF
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 1         11.    On information and belief, the Defendants sued here in as Does 1-10
 2   are individuals and entities whose names and identities are currently unknown to
 3   Plaintiff and who are engaged in the acts described below. Plaintiff will amend its
 4   complaint to identify these individuals or entities as soon as their identities become
 5   known.
 6         12.    Plaintiff is informed and believes and, based thereon it alleges, that at
 7   all times relevant to this complaint, there existed a relationship between each of the
 8   Defendants in the nature of a joint venture, partnership, principal and agent,
 9   employer and employee, master and servant, aider and abettor, and principal and/or
10   conspirator. Each and every act of each of the Defendants was duly authorized or
11   ratified by each of the other Defendants and carried out within the course and
12   scope of such relationship. Hereafter, Defendants John Zox, Andrew Zox, and
13   Daniel Zox (the “Zox Brothers”), and Does 1-10 shall be referred to collectively as
14   “Defendants”.
15         13.    Plaintiff is informed and believes, and on that basis alleges, that each
16   of the Defendants participated in and is in some manner responsible for the acts
17   described in this Complaint and any damages resulting therefrom.
18         14.    Plaintiff is informed and believes, and on that basis alleges, that each
19   of the Defendants have acted in concert and participation with each other
20   concerning the claims in this Complaint.
21         15.    Plaintiff is informed and believes, and on that basis alleges, that each
22   of the Defendants was empowered to act as the agent, servant and/or employees of
23   each other, and that all the acts alleged to have been done by each of them were
24   authorized, approved and/or ratified by each of them.
25                            JURISDICTION AND VENUE
26         16.    The court has original jurisdiction of this action under 28 U.S.C. §§
27   1331, 1338(a) and 1338(b), and 2201 in that this case arises under the Trademark
28   Laws of the United States. This court has supplemental jurisdiction over Plaintiff’s

                                                4              COMPLAINT FOR DAMAGES AND
                                                                        INJUNCTIVE RELIEF
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 1   non-federal claims under 28 U.S.C. § 1367 in that those claims are so related to
 2   Plaintiff’s federal claims that they form part of the same case or controversy.
 3         17.    Venue in this district is proper under 28 U.S.C. § 1391(b) in that a
 4   substantial part of the events giving rise to the within claims occurred in this
 5   judicial district, some of the Defendants reside in this district, and Defendants’
 6   conduct business including the sale of infirming products in this district.
 7                              GENERAL ALLEGATIONS
 8                    The Zox Company and its “ZOX” Trademarks.
 9         18.    The Zox Company is a family-owned business founded in in 2011, by
10   three brothers, with the help of their mom and a sewing machine. The company
11   presently headquartered in the Los Angeles area, started manufacturing and selling
12   bracelets or straps to wear as a fashion accessory. Through dedication and
13   countless hours of hard work, the business prospered over the last decade creating
14   an extremely successful company that is engaged in, among other things, the
15   production, sale and international distribution of consumer goods or retail
16   products.
17         19.    The company offers a variety of bracelets today which are generally
18   accompanied by a “feel good” or inspirational message which created a faithful
19   following of fans where people collect and trade “Zox” bracelets worldwide. For
20   every bracelet that is sold, the Zox company makes a donation to the Thirst
21   Project, a foundation which provides clean water to those in need. In addition to
22   the bracelets, the Zox Company offers goods such as, keychains, clothing, and
23   bags. Examples of some of Zox’ bracelets are shown below.
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                                                5               COMPLAINT FOR DAMAGES AND
                                                                         INJUNCTIVE RELIEF
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 1         20.    The Zox Company is the owner of several well-known trademarks
 2   including U.S. Trademark Registration No. 4,412,948 for the mark ZOX STRAPS
 3   for use in connection with elastic fabric wristbands in the nature of a bracelet
 4   which issued on October 8, 2013 with a first use in commerce date at least as early
 5   as September 15, 2011.
 6         21.    In the U.S., Plaintiff also owns the “ZOX” registrations listed in the
 7   table below. A true and correct copy of the Zox Company trademark registrations
 8   is attached hereto as Exhibit “1”.
 9        Mark        Registration Goods/ Services                 First     Use      in
                      No.
10                                                                 Commerce Date
11
          ZOX         4465691      Class 14: Wristbands in the Class 14: 09/15/2011
12                                 nature of a bracelet.
                                   Class 25: Wristbands; shirts Class 25: 09/15/2011
13
14        ZOXBOX 4759961           Class 25: Athletic apparel, May 30, 2012
                                   namely, shirts, pants, jackets,
15                                 footwear, hats and caps,
16                                 athletic uniforms; Wristbands.
          ZOX         5233845      Class 18: Backpacks.             Class 18: 10/31/2016
17
                                   Class 35: On-line retail and
18                                 wholesale      store    services Class 35: 08/00 2011
                                   featuring clothing apparel,
19
                                   wristbands, bags and accesso
20
21         22.    The Zox Company’s trademarks comprising “ZOX” are hereinafter
22   referred to as the “Zox Company Mark” or the “ZOX Mark”. In addition to its
23   U.S. applications and registrations, Plaintiff owns numerous international
24   registrations in order to protect its brand.
25         23.    “ZOX” is a strong mark. For over ten years, the Zox Company has
26   extensively used ZOX in various advertising and marketing campaigns, spending
27   million dollars annually promoting the brand. Below are screenshots of the
28   company’s website located at the domain https://zox.la/.

                                                    6             COMPLAINT FOR DAMAGES AND
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18         24.    In April of 2013, Plaintiff acquired via assignment U.S. Registration
19   No. 2992108 and all of the rights and goodwill associated with a design mark for
20   ZOX for use in connection with clothing which issued on September 6, 2005 with
21   a first use in commerce date of October 1, 1992.
22         25.    Plaintiff’s registrations are valid, subsisting and in full force and
23   effect evidencing the validity of the Zox Company Mark and Plaintiff’s exclusive
24   right to use the mark in connection with the goods and services identified in the
25   registrations.
26         26.    The presence of the Zox Company Mark on Plaintiff’s goods indicates
27   to the public that goods and services provided under the Zox Company Mark
28   originate with, or are provided by, the Zox Company. Plaintiff adheres to strict

                                                7               COMPLAINT FOR DAMAGES AND
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 1   quality standards in the manufacture of its products. Thus, the consuming public
 2   has come to associate the Zox Company Mark with bracelets, clothing and other
 3   goods and services of high quality.
 4         27.     As a consequence of all of the foregoing, the Zox Company Mark has
 5   attained considerable value and the goodwill associated with it represents a
 6   valuable business asset.
 7         28.     As a result of Plaintiff’s long-term and widespread use of the highly-
 8   distinctive Zox Company Mark in the United States via Internet, product
 9   packaging, print advertising, and continuous and unsolicited media coverage, the
10   Zox Company Mark enjoys a high degree of consumer recognition.
11                              Defendants’ Infringing Activities
12         29.     Defendant John Zox was part of a music band called the “Zox” Band
13   in the late 1990’s to early 2000’s. When the band was together and performing it
14   allegedly sold band merchandise in the form of t-shirts and stickers that comprised
15   of ornamental uses of “Zox”. Ornamental use is not trademark use and not entitled
16   to trademark registration.
17         30.     According to several Internet articles the band broke up in 2009, got
18   back together briefly in 2011 and played a reunion show in 2014 for $15 a person
19   at a quaint small venue (less than 2K person capacity) called Lupo’s in Rhode
20   Island, where the band was formed. Attached as Exhibit “2” are articles about the
21   music band.
22         31.     According to their websites, John Zox’ brothers Defendant Andrew
23   Zox and Defendant Daniel Zox produce short films. See https://andrewzox.com/
24   and https://www.danielzox.com/.
25         32.     At some time, Defendants became aware of Plaintiff the Zox
26   Company and its success.
27         33.     The Trademark Office records indicate that on March 28, 2016, the
28   Zox Brothers filed U.S. Application Serial No. 86954997 (the ’997 Application)

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 1   for the standard character word mark “ZOX” for use in connection with goods in
 2   classes 9, 25 and 41. Of particular importance is the class 25 goods and the
 3   specimens filed for this class which claimed a first use in commerce date of
 4   February 6, 2009, the specimens consisting of images of products that could be
 5   purchased through Zazzle®. Attached as Exhibit “3” is a true and correct copy of
 6   the ’997 Application.
 7         34.    Zazzle, headquartered in Redwood City, California is an online print
 8   store where custom products can be made and offered to consumers. On
 9   information and belief, the Class 25 goods were not being sold in commerce but
10   were included in the ‘997 Application to make it appear as though the Zox
11   Brothers and the music band Zox were presently selling and had previously been
12   selling merchandise in the form of clothing and other retail items under the
13   trademark “ZOX”. Class 25 was refused registration in light of a registration
14   owned by the Zox Company.
15         35.    On or about September 2, 2016, Mr. John Zox contacted Jason
16   Kuipers, a principal of the Zox Company demanding a consent to register. Mr.
17   Kuipers declined. The ’997 Application eventually matured into Registration No.
18   5,268,843 (the ’843 Registration) without the Class 25 goods.
19         36.    On December 13, 2018, Mr. John Zox filed a new application, serial
20   no. 88228839 (the ’839 Application) for the standard character word mark “ZOX”
21   for use in connection with numerous goods and services that are similar to or
22   closely related to the Zox Company’s Marks including clothing, bracelets and
23   accessories. Of note again, is the first use in commerce date for each class of
24   goods which ranges between 2004 to 2007 and the specimens Mr. Zox submitted
25   to the Trademark Office, specifically images of goods that could be purchased
26   through the online custom print store Zazzle. Attached as Exhibit “4” is a true and
27   correct copy of the ’839 Application.
28

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 1         37.    The specimens submitted appeared to be fake- images of goods that
 2   could be made via online print stores. They were similar, if not identical, to the
 3   specimens submitted for the Class 25 goods in the ‘997 Application including, the
 4   Zazzle specimens.
 5         38.    Plaintiff did not believe Defendant John Zox or the Zox Brothers had
 6   ever sold most if not all of the goods displayed in the specimens. Attached as
 7   Exhibit “5” is an example of how easy it is to create the submitted specimens.
 8         39.    In order to protect its business, the Zox Company was left with no
 9   choice but to oppose the ’839 Application. Filing this opposition resulted in
10   numerous filings at the TTAB as shown below. In every proceeding the ’843
11   Registration has been used against the Zox Company.
12         MATTER         MARK                              Ref. to ‘843 Reg.

13         Opposition     Opposition:                        See Answer and Counterclaim, Pages
           No.            ZOX                               10-11, ¶6 and Exhibit A.
14         91252817       App. No. 88/228,839
           And                                              “Applicant—either individually, as co-
15         Counterclaim   Pet. To Cancel:                   applicant with his brothers Andrew Zox
                                                            and Daniel Zox, or in partnership with
16                        Registration No. 4,465,691:       fellow ZOX band member Eli Miller
                          ZOX; Registration No.             under the partnership name Zox Music—
17                        4,759,961: ZOXBOX; and            owns in whole or in part the right, title
18                        Registration No. 5,233,845:       and interest in and to the ZOX Marks, 10
                          ZOX                               the applications and registrations for
19                                                          which are indicated below:…”

20                                                          See Table, page 11.

21         Pet. To        Pet. To Cancel                    John Zox
           Cancel No.                                       Daniel Zox
22                        Registration No. 5,268,843        Andrew Zox
           92074323
23
           Opposition     Opposition                        See Notice of Opposition, Pages 3-4, ¶6
24         No.            ZOXLIST                           and Exhibit A.
           91265309       Application No. 88/582,432
25                        Pet. To Cancel                    “Opposer—either individually, as co-
                          Registration No. 5,268,843        applicant with his brothers Andrew Zox
26                                                          and Daniel Zox, or in partnership with
27                                                          fellow ZOX band member Eli Miller
                                                            under the partnership name Zox Music—
28                                                          owns in whole or in part the right, title
                                                            and interest in and to the ZOX Marks,

                                                       10                  COMPLAINT FOR DAMAGES AND
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 1                                                    the applications and registrations for
                                                      which are indicated below:…”
 2
                                                      See Table, page 4
 3         Opposition   Opposition                    See Notice of Opposition, Pages 3-4, ¶5
           No.          ZOX (Design)                  and Exhibit A
 4         91265525     Application No. 88/829,957
 5                                                    “Opposer—either as an individual, as co-
                                                      applicant, or in partnership with fellow
 6
                                                      ZOX bandmembers—also owns in whole
 7                                                    or in part the right, title and interest in
                                                      the mark ZOX for a variety of goods and
 8                                                    services, the applications and
 9                                                    registrations for which are indicated
                                                      below (collectively, Opposer’s “ZOX
10                                                    Marks”):…”
11
                                                      See Table, page 4
12
13         40.    On or about, July 21, 2020, the Zox Company served its First Set of
14   Requests for Production and Interrogatories for Opposition No. 91252817.
15         41.    In discovery, Defendant John Zox claims he owns rights in and to the
16   “ZOX marks” either individually, as co-applicant with his brothers Andrew Zox
17   and Daniel Zox and/or with fellow Zox bandmembers Eli Miller (Opposition Nos.
18   91265525 and 91252817).
19         42.    Defendant John Zox further claimed in Opposition No. 91265309 that
20   he owns the rights in a “partnership” called “Zox Music”. Mr. Zox also contends
21   in his discovery responses that he is a member of the band and operates or is
22   affiliated with several businesses namely, “…ZOX or ZOX MUSIC, [which] is
23   managed by [John Zox’] company ZOXWERX LLC, is booked by [John Zox’]
24   company ZOX EVENTS, and is distributed by [John Zox’] label ARMO
25   RECORDS.
26         43.    For document production, 192 documents were produced most of
27   which were publicly available documents and none of which demonstrated sales to
28   consumers for the applied-for goods in either the ’997 or the ’839 Applications.

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 1   Nor were any documents produced demonstrating a single sale of a good through
 2   Zazzle.
 3            44.   In order to determine whether or not any “ZOX” goods had been sold
 4   through Zazzle as represented to the Trademark Office, on January 5, 2021,
 5   Plaintiff issued a subpoena to Zazzle. In response Zazzle produced the attached
 6   spreadsheet. The spreadsheet shows the sales of goods through Zazzle. A true and
 7   correct copy of the Zazzle subpoena without Exhibit 1 and Zazzle’s response is
 8   attached as Exhibit “6”.
 9            45.   A review of the spreadsheet shows no goods were sold through Zazzle
10   as of the ‘997 Application filing date of March 28, 2016. And for the ’839
11   Application with a filing date of December 13, 2018, it appears one of each good
12   was sold through Zazzle on December 31, 2020 - more than two years after the
13   ‘839 Application was filed and more than 4 years after the ‘997 Application and
14   long after the TTAB proceedings had been initiated.
15            46.   In addition to not having sold any of the Class 25 goods as
16   represented to the Trademark Office at the time the applications were filed, the
17   Zox Brothers have not produced any evidence to show sales of numerous class 09
18   goods from the ‘997 Application including, but not limited to, “…prerecorded
19   video cassette tapes, audio and video discs in the nature of CDs and DVDs; film
20   and video equipment, namely still, motion picture film and video cameras,
21   videocassette recorders, videocassette players, digital video or audio players, and
22   film and video editing machines; computer software for film and video editing;
23   eyeglasses.”
24            47.   For Class 41, Defendant John Zox has admitted there has not been any
25   “live” music events since 2014 which is two years before the ‘997 Application was
26   filed.
27            48.   The Trademark Manual of Examining Procedures (TMEP) requires
28   goods lawfully be sold in interstate commerce to qualify for Federal registration

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 1   [emphasis added]. See TMEP Section 907 and 37 C.F.R. §2.69.
 2         49.    The ‘997 Application and ‘839 Application are void ab initio,
 3   pursuant to 15 U.S.C. § 1051(a).
 4         50.    The Trademark Modernization Act “TMA” was signed into law on
 5   December 27, 2020. The TMA provides expungement or reexamination options to
 6   remove a registration on the basis that the trademark was never used in commerce
 7   or was not in use in commerce as of the relevant date.
 8         51.    The ‘843 Registration is a candidate for expungement and/or
 9   reexamination as the goods were never sold in commerce and most, if not all of the
10   services were not being provided at the time of the application filing date or during
11   the use in commerce dates provided to the Trademark Office.
12         52.    On information and belief, in addition to not lawfully using the mark
13   in commerce as represented to the Trademark Office and committing fraud,
14   Defendants have modified and manipulated information online to in an attempt to
15   improve their legal position at the TTAB with regard to “use” of the mark ZOX.
16         53.    For example, Mr. Zox provided the screenshot labeled “Figure A” as
17   shown in Exhibit “7” in Opposition Proceeding (No. 91265525, Notice of Opp.,
18   ¶10) titled, “Fig. 2- The Zox Band website 2008-2020”. Paragraph 10 of the Notice
19   states, “ZOX markets, promotes, and sells its merchandise online at its website
20   www.zoxband.com and www.zazzle.com, at shows/concerts, and via hundreds of
21   online streaming music platforms. All feature the ZOX (Stylized) Mark and related
22   ZOX Marks as shown by example of ZOX Band’s website in Fig. 2.”
23         54.    As shown in Figure B of Exhibit 7, a review of the domain
24   zoxband.com via the Wayback Machine the archive page for November 16, 2017
25   does not display a post dated October 8, 2017 stating, “For news, updates,
26   community chatter, and more, head to the Official ZOX Facebook Page
27   https://www.facebook.com/ZOX-6813512423/”. This means even on November
28   16, 2017 there was no Oct. 8th 2017 post.

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 1         55.     Further according to the Wayback Machine as shown in Figure C of
 2   Exhibit 7, an archived page for December 18, 2020, does not display a post dated
 3   January 1, 2020 “New year’s resolution: Add ZOX to my fave playlist! This
 4   means in December of 2020 there were no posts from January 2020.
 5         56.    As demonstrated in the screenshots, the Zox Band website was
 6   modified to make it appear some activity had occurred in the past several years.
 7         57.     In addition to the band’s website being edited, the Wikipedia page
 8   referring to the music band Zox has also experienced a flurry of edits. In all of
 9   2018 there were only three (3) edits. In 2020, there were over fifty (50) edits. For
10   example, on October 3, 2020 the statement “Zox was a band from Providence
11   Rhode Island” to “Zox is a band from Providence, Rhode Island. Additionally,
12   there was also an edit in 2020, that changed “years active” from “2002-2009” to
13   “2002-2009, 2010-Present” Attached as Exhibit “8” is the revision history for the
14   Wikipedia page.
15         58.    On further information and belief, both Andrew Zox and Daniel Zox,
16   prior to this dispute used their full names in connection with the creation of their
17   art. After the dispute uses of terms such as “ZOX PROJECTS” started appearing
18   to make it seem there is tradename use as opposed to the surnames.
19         59.    The Zox Company does not want to have any affiliation or association
20   with John Zox, the music band Zox, or the Zox Brothers nor does it want
21   consumers to be confused when they purchase a Zox Company product thinking it
22   is related to Mr. Zox, the music band Zox or the Zox Brothers.
23         60.    The Zox Company does not “need” to trade on the goodwill of John
24   Zox, the music band Zox or the Zox Brothers, assuming any goodwill exists.
25         61.    According to numerous streaming services and social media platforms
26   the band Zox no longer has a substantial fan following assuming arguendo it ever
27   did. Attached as Exhibit “9” are images of the parties’ social media pages and
28   streaming platforms.

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 1         62.    The Instagram account for the music band Zox has approximately
 2   three hundred and four (304) followers as compared to the Zox Company that has
 3   approximately two-hundred and two thousand (202,000) followers. On Facebook
 4   the band Zox has approximately four thousand 4,000 followers and the Zox
 5   Company has over three hundred thousand (300,000) followers.
 6         63.    The music band Zox has less than ten thousand (10,000) monthly
 7   listeners on Pandora, ten thousand (10,000) listeners on Songkick and about
 8   sixteen thousand (16,000) on Spotify, these numbers represent global numbers.
 9         64.   On information and belief, in the last month Defendants have
10   launched “new” clothing products identical to those of Plaintiff with a logo
11   confusingly similar to the Zox Company logo as shown below.
12         Defendant’s New Logo                         Plaintiff’s Logo
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17         65.   On information and belief, to continue appearances, the Zox band
18   “released” a new album on January 21, 2021. The new album consists of 9 songs,
19   all of which are old songs remastered or rerecorded. On further information and
20   belief the music was released on YouTube with 113 views.
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                                              15              COMPLAINT FOR DAMAGES AND
                                                                       INJUNCTIVE RELIEF
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 1         66.    For clarity, Plaintiff has never objected to Messieurs Daniel and
 2   Andrew Zox using their names in connection with their art, nor does Plaintiff
 3   object to old band merchandise bearing ornamental uses of “ZOX” that was
 4   previously sold when the band was active. The “new” products that Defendants
 5   have fabricated or attempted to fabricate in the past few years and as recently as
 6   last month are an infringement of Plaintiff’s rights.
 7          67.   Rather than ceasing infringement, Defendants are continuing their
 8   infringing activities oppressively, fraudulently, willfully and maliciously, with a
 9   conscious disregard of the Zox Company’s trademark rights and with a desire to
10   injure Plaintiff’s business and to improve their own.
11         68.    The Zox Company is left with no other options but to file this
12   complaint for trademark infringement and unfair competition, among other claims.
13   Defendants’ actions complained of herein were committed fraudulently,
14   oppressively and maliciously.
15                              FIRST CLAIM FOR RELIEF
16                      (Against All Defendants for Trademark Infringement,
17                                          15 U.S.C. § 1114(1))
18         69.    Zox Company incorporates, repeats and realleges paragraphs 1 - 68
19   above, as if set forth fully herein.
20         70.    The Zox Company Mark is owned by Zox Company and Zox
21   Company has continuously used that mark in commerce since at least as early as
22   September, 2011. The Zox Company has never authorized nor consented to the
23   Defendants’ use of any term which is the same as, is confusingly similar to, or
24   constitutes a colorable imitation of, the Zox Mark in commerce in connection with
25   their products or services.
26         71.    Defendants’ actions, as alleged above, are likely to cause confusion,
27   mistake or deception in violation of Section 32(1) of the Lanham Act, 15 U.S.C. §
28   1114(1).

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 1         72.    Zox Company is informed and it believes and, based thereon it alleges
 2   that Defendants’ acts have been undertaken with full knowledge of Zox Company
 3   rights in and to the ZOX Mark and with the willful and deliberate intent to cause
 4   confusion, mistake and deception among members of the relevant public and to
 5   trade on the goodwill associated with the ZOX Mark.
 6         73.    By reason of Defendants’ acts, as alleged herein, Zox Company has
 7   suffered damage to its business, reputation and goodwill and Defendants have
 8   made profits and sales they would not have made but for Defendants’ conduct.
 9         74.    Defendants’ acts have caused and will continue to cause irreparable
10   and immediate injury to Zox Company for which Zox Company has no adequate
11   remedy at law. Unless Defendants are restrained by this Court from continuing
12   their unauthorized use of words and symbols that are confusingly similar to the
13   ZOX Mark, these injuries will continue to occur.
14                            SECOND CLAIM FOR RELIEF
15                (Against All Defendants for False Designation of Origin,
16                                   15 U.S.C. § 1125(a))
17         75.    Zox Company incorporates, repeats and realleges paragraphs 1- 68,
18   and 70-74 above, as if set forth fully herein.
19         76.    The ZOX Mark is owned by Zox Company and Zox Company has
20   continuously used it in commerce for many years. Zox Company has never
21   authorized or consented to the Defendants’ use of the ZOX Mark or of any similar
22   words or names in connection with their products or services.
23         77.    Defendants’ actions, as alleged above, are likely to cause confusion,
24   mistake or deception as to the affiliation, connection or association of the
25   Defendants with Zox Company, or as to the origin, sponsorship or approval of
26   Defendants’ products or services by Zox Company in violation of Section 43(a) of
27   the Lanham Act, 15 U.S.C. § 1125(a).
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 1         78.    Zox Company is informed and it believes and, based thereon it alleges
 2   that Defendants’ acts have been undertaken with full knowledge of Zox Company
 3   rights in and to the ZOX Mark and with the willful and deliberate intent to cause
 4   confusion, mistake and deception among members of the relevant public and to
 5   trade on the goodwill associated with the mark.
 6         79.    By reason of Defendants’ acts, as alleged herein, Zox Company has
 7   suffered damage to its business, reputation and goodwill and Defendants have
 8   realized profits and sales they would not have made but for Defendants’ conduct.
 9         80.    Defendants’ acts have caused and will continue to cause irreparable
10   and immediate injury to Zox Company for which Zox Company has no adequate
11   remedy at law. Unless Defendants are restrained by this Court from continuing
12   their unauthorized use of words and symbols that are confusingly similar to the
13   ZOX Mark, these injuries will continue to occur.
14                             THIRD CLAIM FOR RELIEF
15         (Against All Defendants for Common Law Trademark Infringement)
16         81.    Zox Company repeats and re-alleges paragraphs 1-68, 70-74, and 76-
17   80, as though fully set forth in this paragraph.
18         82.    By reason of Defendants’ acts, as alleged herein, Zox Company has
19   suffered damage to its business, reputation and goodwill and Defendants have
20   realized profits and sales they would not have made but for Defendants’ conduct.
21         83.    The above-described acts of Defendants constitute common law
22   trademark and trade name infringement. Such acts have caused and will continue
23   to cause irreparable and immediate injury to Zox Company for which Zox
24   Company has no adequate remedy at law. Unless Defendants are restrained by this
25   Court from continuing the acts alleged herein, these injuries will continue to occur.
26         84.    On information and belief, the foregoing acts of Defendants are
27   oppressive, fraudulent, willful and malicious in that they have been undertaken
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 1   with a conscious disregard of Zox Company’s rights and with a desire to injure
 2   Zox Company’s business and to improve its own.
 3                           FOURTH CLAIM FOR RELIEF
 4                     (Against All Defendants for Unfair Competition,
 5                             Cal. Bus. & Prof. Code § 17200)
 6         85.     Zox Company repeats and re-alleges paragraphs 1- 68, 70-74, 76-80,
 7   and 82-84, as though fully set forth in this paragraph.
 8         86.     The above-described acts of Defendants constitute unfair competition
 9   within the meaning of California Business and Professions Code Section 17200.
10   Such acts have caused and will continue to cause irreparable and immediate injury
11   to Zox Company for which Zox Company has no adequate remedy at law. Unless
12   Defendants are restrained by this Court from continuing the acts alleged herein,
13   these injuries will continue to occur.
14                            FIFTTH CLAIM FOR RELIEF
15               (Against All Defendants for Common Law Unfair Competition)
16         87.     Zox Company repeats and re-alleges paragraphs 1- 68, 70-74, 76-80,
17   82-84 and 86, as though fully set forth in this paragraph.
18         88.     By reason of Defendants’ acts, as alleged herein, Zox Company has
19   suffered damage to its business, reputation and goodwill and the loss of profits and
20   sales it would have made but for Defendants’ conduct.
21         89.     The above-described acts of Defendants constitute common law unfair
22   competition in that Defendants are attempting to pass off its goods and services as
23   those of Zox Company. Such acts have caused and will continue to cause
24   irreparable and immediate injury to Zox Company for which Zox Company has no
25   adequate remedy at law. Unless Defendants are restrained by this Court from
26   continuing the acts alleged herein, these injuries will continue to occur.
27         90.     On information and belief, the foregoing acts of Defendants are
28   oppressive, fraudulent, willful and malicious in that they have been undertaken

                                               19                 COMPLAINT FOR DAMAGES AND
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 1   with a conscious disregard of Zox Company’s rights and with a desire to injure
 2   Zox Company’s business and to improve its own.
 3                                PRAYER FOR RELIEF
 4         WHEREFORE, Plaintiff prays for judgment against Defendants as follows:
 5         1.     For an order permanently enjoining the Defendants, their officers,
 6   agents, employees, and those acting in concert or conspiracy with them from:
 7                       a.    Using any brand or designation that makes use of the
 8   term ZOX or any permutation of that term, whether alone or in combination with
 9   other words, characters or symbols in connection with the sale, offer for sale,
10   promotion or advertising of any products and/or services that are the same as, or
11   are related to, Zox Company’s goods and services;
12                       b.    Instructing or directing any third parties to prepare print
13   advertising, flyers, containers, labels or packaging bearing the term ZOX or any
14   permutation of that term, whether alone or in combination with other words,
15   characters or symbols for use in connection with the sale, offer for sale, promotion
16   or advertising of any products and/or services that are the same as, or are related to,
17   Zox Company’s goods and services;
18                       c.    Imitating, copying, making unauthorized use of, or
19   otherwise infringing, Plaintiff’s rights in and to the ZOX Mark;
20         2.     For an order directing the Defendants to deliver up for destruction all
21   products, labels, boxes, signs, prints, packages, wrappers, and artwork in their
22   possession, or under their control, bearing or intended to bear the term ZOX or any
23   permutation of that term, whether alone or in combination with other words,
24   characters or symbols;
25         3.     For an order pursuant to 15 U.S.C. § 1125(c)(1) permanently
26   enjoining Defendants and their officers, agents, employees, and all those acting in
27   concert or conspiracy with them from making use of the ZOX or any other term
28   that contains the term ZOX or any phonetic equivalent of that mark in connection

                                               20              COMPLAINT FOR DAMAGES AND
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 1   with the wholesale or retail sale of goods or services related to the Zox Company’s
 2   goods and services;
 3          4.    For an order cancelling U.S. Registration No. 5,268,843 in whole, or
 4   in part;
 5          5.    For an order abandoning U.S. Application Serial No. 88/228,839;
 6          6.    For a monetary award against Defendants in favor of Zox Company in
 7   an amount equal to (i) Zox Company’s actual damages and (ii) to the extent not
 8   included in actual damages, the Defendants’ profits arising from the acts alleged
 9   above, such damages and profits to be trebled under 15 U.S.C. § 1117(a);
10          7.    For a finding that this is an exceptional case within the meaning of,
11   and for an award of attorneys’ fees against Defendants pursuant to, 15 U.S.C. §
12   1117(a);
13          8.    For a finding that Defendants’ acts of infringement were willful
14   within the meaning of 15 U.S.C. § 1117(c)(2);
15          9.    For an award of pre-judgment interest and post-judgment interest in
16   the maximum amount permitted by law;
17          10.   For a finding that Defendants’ acts were undertaken intentionally,
18   maliciously and/or with a reckless and wanton disregard of Plaintiff’s rights and
19   for an award of exemplary damages pursuant to California Civil Code section 3295
20   in an amount sufficient to punish, deter, and make an example of Defendants for
21   the acts complained of herein;
22          11.   For an award of costs under 15 U.S.C. § 1117(a), or as otherwise
23   provided by law against Defendants;
24          12.   For exemplary and punitive damages against Defendants; and
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                                              21              COMPLAINT FOR DAMAGES AND
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 1         13.   For such other and further relief as the Court deems just and proper.
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 3                                     CISLO & THOMAS LLP
 4
 5   Dated: February 22, 2021          By: /s/Daniel M. Cislo
 6                                         Daniel M. Cislo
                                           David B. Sandelands
 7                                         Katherine M. Bond
 8                                          Attorneys for Plaintiff ZOX LLC
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                                             22              COMPLAINT FOR DAMAGES AND
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 1                                REQUEST FOR JURY TRIAL
 2         Plaintiff requests trial by jury on all issues so triable.
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 4
 5                                        CISLO & THOMAS LLP
 6
 7   Dated: February 22, 2021             By: /s/Daniel M. Cislo
 8                                            Daniel M. Cislo
                                              David B. Sandelands
 9                                            Katherine M. Bond
10                                             Attorneys for Plaintiff ZOX LLC
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